Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 1 of 10 Page ID #:5




                  EXHIBIT A
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 2 of 10 Page ID #:6


                                                                      nMiiniiinoii          US00D614986S



    <i2) United States Design Patent oo) Patent no.:                                                      USD614,986S
           Shin                                                          (45) Date of Patent:             **      May 4,2010

    (54) MIRRORED LIGHT BAR SET FOR                                          7,394,398 B2    7/2008 Pedenon
            EMERGENCY VEHICLES                                               D592.089 S *    5/2009 Shin                    D10/1I4
                                                                       2008/0080203 AI*      4/2008 Neufcgliso              362/540
    (76) Inventor         David D Shin, 7322 Madison St.,             * cited by examiner
                          Paramount,CA (US) 90723
                                                                      PrimaryExaminer—Caron Veynar
    (*•) Term:            14 Years                                    Assistant Examiner—George D Kirschbaum
                                                                      (74) Attorney. Agent, or Firm—Kiik A. Buhlcr, Buhlcr &
    (21) Appl.No.: 29/341,525                                         Associates

    (22) Filed:           Aug. 6,2009                                 (57)                      CLAIM

    (51) LOC(9)Cl.                                      10-05         The ornamental design for a mirrored light bar set for emer
    (52) US. CI                                   „. D10/114          gency vehicles, as shown and described.
    (58) Field of Classification Search              D10/114;
                                     D26/72,85; 362/540-549                                  DESCRIPTION
         Sec application file for complete searchhistory.             FIG. 1is atop,left perspectiveview ofamirroredlightbarset
                                                                      for emergency vehicles showingmy new design;
    (56)                    References Cited
                                                                      FIG. 2 is a front, top right perspectiveview of the right unit,
                       U.S. PATENT DOCUMENTS                          as seenin FIG.1, the left unit being a mirrorimage thereof;
           2,814,029 A      11/1957 McRea                             FIG. 3 isa top,left, perspective view ofthe rightunit,as seen
           3,278,741 A      10/1966 Wood                              in FIG. 1, the left unit being a mirrorimage thereof;
           D249.250 S        9/1978 Pemsj.Jr.
           4357,595 A       11/1982 Gosswiller
                                                                      FIG. 4 is a top view thereof;
           D274.001 S        5/1984 Sailers                           FIG. 5 is a bottom view thereof;
           4,620,268 A      10/1986 Fcrcnc
                                                                      FIG. 6 is a front view thereof;
           4,937,711 A       6/1990 Shuea
           4,956,753 A       9/1990 Renfrew                           FIG. 7 is a back view thereof,
           D324.921 S        3/1992 Stanuchetal.                      FIG. 8 isarightsideview ofthe left unit, the rightunithaving
           D355.142 S        2/1995 Wagner                            a minor imageview thereof;
           D400.675 S       11/1998 Sopko
           RE36.245 E *      7/1999 Stanuchetal             362/480   FIG. 9 is a left sideview ofthe rightunit, the left unit having
           D419.249 S        1/2000 Fordctal.                         a mirrorimage view thereof; and,
           D442.106 S        5/2001 Stein etal.
                                                                      FIG. 10 is environmental ofthe claimed design.
           6,461,008   Bl  10/2002 Pedenon
           6.511.216   B2* 1/2003 Strickland                362/542   The brokenlines in FIGS. 1 and 4-10 depict mounting hard
           6,590,502   Bl   7/2003 Pedenon                            ware environmental subject matter and form no part of the
           6,623,151   B2   9/2003 Pedenon                            claimed design.
           6.788.217   B2   9/2004 Pedenon
           6,789,930   B2   9/2004 Pedenon
                                                                      The broken lines in FIG. 10 depict environmental subject
           6,814,459 B2     11/2004 Pedenon                           matterofa vehicle and form no partof the claimed design.
           6,822^78 B2      11/2004 Pedenon
           7,033,036 B2      4/2006 Pedenon                                           1 Claim, 6 Drawing Sheets
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 3 of 10 Page ID #:7




    U.S. Patent        May 4,2010    Sheet 1 of 6          US D614,986 S




                                                                   0
                                                                   fa
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 4 of 10 Page ID #:8




    U.& Patent         May 4,2010    Sheet 2 of 6         US D614,986 S
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 5 of 10 Page ID #:9




    U.S. Patent        May 4,2010    Sheet 3 of 6                           US D614,986 S




                                                                               if
                                                                               it.


                            \                                               s...




                                                                      11
                                                                            ,—j



                                                                               • i




                                                        0
                                                                  •    2,
                                FIG 4
                     *»-'                                   ««'




                                    FIG 5

                                                                                   *J




                                                                               ic:
                            I                       \
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 6 of 10 Page ID #:10




    U.S. Patent        May 4,2010     Sheet 4 of 6                 US D614.986 S



                                                      r—i

                                                     fa
                       \                                          ..«




                                                                  3




                           FIG. 6




                                          FIG. 7
                                                      n       n
                                                          i   i
                                                          i   i
                                                          i   i
                                                          i   i
                                                          •I




          V-J



                                                                  "oi



                HI     J                             I    r-ji
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 7 of 10 Page ID #:11




    U.S. Patent        May 4,2010     Sheet 5 of 6         US D614,986 S




           FIG 8




            FIG 9
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 8 of 10 Page ID #:12




    U.S. Patent        May 4,2010     Sheet 6of 6          US D614,986 S




                FIG. 10
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 9 of 10 Page ID #:13




                   EXHIBIT B
Case 2:16-cv-03134-JVS-JPR Document 1-1 Filed 05/06/16 Page 10 of 10 Page ID #:14



FINEST EMERGENCY LIGHTING                PATENT NUMBER   NAME, COLOR, & MODEL




                                                         Finest Emergency Lighting
                                                         Interior Visor Light Bar 2.0


                                                         SKU ILB2

                                         D614,986


                                                         Color: Blue, Red, Clear,
                                                         Amber, Amber Clear
                                                         Blue Red, Red Clear, Blue
                                                         Amber
